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        UNITED STATES DISTRICT COURT SOUTHERN DISTRICT OF FLORIDA

                                   Case No. 19-CR-20804-AHS

  UNITED STATES OF AMERICA,
            Plaintiff,

  v.

  HANAH CHAN,
              Defendant.
  ____________________________/

                       NOTICE OF COUNSEL’S CHANGE OF ADDRESS

         COMES NOW, the Defendant, Hanah Chan, by and through undersigned counsel and files
  this Notice of Counsel’s Change of Address and requests the Court, opposing parties, and the Clerk
  of Courts, forward all future communications to:

                                       780 Tamiami Canal Road,
                                         Miami, Florida, 33144


                                   CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a true and exact copy of the foregoing was electronically filed
  with the Clerk of the Court through the CM/ECF system, resulting in notice to opposing counsel
  of the filing, on this 3rd day of August, 2022.

                                                      Respectfully submitted,

                                                      By: /s/ Tara N. Kawass
                                                      Tara N. Kawass
                                                      Florida Bar #: 54494
                                                      Law Offices of Kawass, P.A.
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